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Attornev for Plaintiff


                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


  UNITED STATES OF AMERICA,                   Case No. 3:21-cr-00064-JMK-MMS

                          Plaintiff.

           vs.                                PLEA AGREEMENT

  NELLIE SHERRY SERRADELL,

                          Defendant.



                                   PLEA AGREEMENT

                 Unless the parties jointly inform the Court in writing of
                 any additional agreements, this document in its entirety
                   contains the terms of the plea agreement between the
                    defendant and the United States. This agreement is
                  limited to the District of Alaska; it does not bind other
                       federal, state, or local prosecuting authorities.




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I.       SUMMARY OF AGREEMENT, FEDERAL RULE OF CRIMINAL
         PROCEDURE II

         A"     Summrry of Agreement

         The defendant agrees to plead guilty to the following count of the lndictnent in this

case: Count 2   -   Kidnapping, in violation of 18 U.S.C. $ l20l(aXl). The parties agree and

stipulate that the base offense level will be 32 under USSG $ 2Aa.l(a). The parties further

agree and stipulate that the following specific offense characteristic applies: USSG

$2A4.IOX5) (sexual exploitation), resulting in a total offense level of 38 prior to any

offset for acceptance of responsibility. The United States will recommend a sentence no

greater than the high end of the guideline range as determined by the Court at sentencing.

         The United States   will dismiss all remaining counts at sentencing and agrees not to

prosecute the defendant fruther for any other offense related to the events that resulted in

the charges contained in the lndictnent. The parties agree that any sentence in this case

shall be served concunently to any sentence imposed in Alaska Superior Court case

number 3AN-19-l l234CR pursuant to USSG $ 5G1.3(c).

         The defendant will waive all rights to appeal the conviction and sentence imposed

under this agr€ement. The defendant       will   also waive all rights to collaterally attack the

conviction and sentence, except on the grounds of ineffective assistance of counset or the

voluntariness of the plea.

         B.     Federrl Rule of Criminal Procedurc         11

         Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure     1l(cXlXA)   and @)   will control this plea agreement. Thus, the defendant may


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not withdraw from this agreement or the guilty plea          if   the Court rejects the parties'

sentencing recommendations at the sentencing hearing.

II.      CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
         AI\D OTHER MATTERS AFFECTING SENTENCE

         A.    Charges

               I          The defendant agrees to plead guilty to the following count of
                          the Indictment:

         Count 2   -   Kidnapping, in violation of l8 U.S.C. $ 1201(aXl).

         B.    Elements

The elements of the charge in Count 2 to which the defendant is pleading guilty are as

follows:

         I     The defendant knowingly and       willfully seize4 confme{ inveigled, decoyed,

               kidnapped, aMucted, or carried away the victim,

         2.    The defendant held or detained the victim against her           will for ransom,
               reward, or for any other purpose, and

         J     The defendant used any means, facility, or instrumentality of interstate or

               foreign. commerce in committing or furthering the commission of the offense.

         C     Factual Basis

         The defendant admits the truth of the allegations in Count 2 of the Indictment and

the truth of the following statement, and the parties stipulate that the Court may rely upon

this statement to support the factual basis for the guilty plea and for the imposition of the

sentence:




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           On November 17,2019, and within the District of Alask4 the defendant, Nellie

Sherry Serradell, knowingly and          willfully   seized, confined, kidnapped, abducte4 and

carried away the victim, and thereafter held or detained the victim against her                will for

ransom, reward, or for any other purpose. The defendant used the victim's 2009 Satum

Vue    -   a means,   facility, and instrumentality of interstate or foreign commerce    -   to commit

and fi.nther the commission of the offense.

           Around 4:45 am. on November 17, the defendant left the scene ofa one car accident

off Dimond Boulevard in Anchor4ge. She walked on foot in and out of traffrc on Dimond,

trying to stop several passing cars.

           At 5:4E a-m., the defendant ran in front of a passing car driven by the victim at

Dimond Boulevard and C Street. The victim agreed to give the defendant             a   ride at least as

far as her place of employment. When they arrived in the parking                 lot   the defendant

suddenly gmbbed the victim by the sweatshirt and said, "Drive.               I   have a gun." The

defendant punched the victim twice in the face and demanded that she drive faster and do

as she was    told. The defendant began aggressively touching the victim's vagina and breasts

through her clothing. She also demanded money.

           The defendant forced the victim to drive to a trailer park at 2221 Muldoon Road and

park. The defeadant ordered the victim to tum the car offand give her the keys. She also

told the victim to undress. The victim removed all her clothing er(cept for her socks. The

defendant told the victim to recline in the driver's seat. The defendant touched the victim's

breasts and    digitally penetrated her vagina. She told the victim to move into the backseat.

After the victim moved to ttre backseat, the defendant continued to sexually assault her. ln

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doing so, the defendant sexually exploited the victim by knowingly causing her to engage

in   a sexual act,   to wit: penetration ofthe anal or genital opening of the victim by a hand or

hnger or by any object with the intext to abuse, humiliate, harass, degrade, or arouse or

gratiS the defendant's sexual desire. The defendant compelled the victim to engage in this

sexual act by both using force against the victim and by threatening or placing the victim

in fear that she would be subjected to death or serious bodily injury.

            The victim begged the defendant to stop and offered money ifthe defendant let her

go. The defendant agreed. The victim retrieved a debit card and said she could give the

defendant $300. The defendant demanded more and eventually settled on M00. She told

the victim they needed to find an ATM. Approximately 15 minutes after arriving at the

trailer park, the victim and the defendant drove away. The defendant allowed the victim to

put on a jacket as she drove.

            The victim drove across town to the Holiday gas station at 3727 Spenard Road, but

the defendant told her not to stop there. The defendant told the victim that she was going

to be chopped up into tiny pieces. The defendant asked the victim if she was a virgin. When

the victim said yes, the defendant replied that was good, and that her "boys" would like

that. The defendant then fell asleep.

            The victim pulled into the Shell gas station at 901 East l5th Avenue and quietly got

out ofthe car. She ran inside the gas station wearing only         a   jacket and called 9l L As the

victim was on the phone, the defendant woke up and saw that            she was gone. The defendant

looked up and made eye contact with the victim as she was on the phone inside. The

defendant then moved to the driver's seat and drove        offin   the victim's car.

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       Police arrested the defendant at a motel on Spenard Road the next day. The

defendant was wearing the victim's brown boots. While in the backseat of the patrol car on

the way to the hospital, the defendant was recorded mumbling, "They parked the car on

Boniface. It wasn't only me...." Police recovered the victim's car that night in a parking lot

on Boniface Parkway. The Alaska State Crime Lab later determined that the defendant's

DNA was on the steering wheel and inside a pair ofred shoes the defendant left behind on

the passenger seat floorboards of the car.

       D.     Statutory Penalties and Other Matters Affecting Sentence

               l.        Statutory Penalties

       The maximum statutory penalties applicable to the charges to which the defendant

is pleading guilty, based on the facts to which the defendant will admit in support of the

guilty ple4 are   as   follows:

       Count 2:     l8 U.S.C. g l20l(aXl) (Kidnapping)

               l) life   imprisonment;

              2) a $250,000 fine;

              3) five years of supervised release; and

              4) a mandatory $100 special assessment.

              2.         Other Matters Alfecting Sentence

                         a.       Conditions Affecting the Defendant's Sentence

       The following conditions may also apply and affect the defendant's sentence:        l)
pursuant to Comment 7 of USSG $ 5E1.2, the Court may impose an additional fine to pay

the costs to the government ofany imprisonment and supervised release term; 2) pursuant


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to l8 U.S.C.$ 3612(f), unless otherwise ordered, if the Court imposes               a fine of more than

$2,500, interest will be charged on the balance not paid within 15 days after the judgment

date; 3) upon violating any condition ofsupervised release, a further term of imprisonment

equal to the period of the supervised release may be imposed" with no credit for the time

already spent on supervised release; 4) the Court may order the defendant to pay restitution

pursuant to l8 U.S.C. $ 3663 and United States Sentencing Guideline                 ('USSG)     $ 581.1,

and    if l8 U.S.C. $ 3663A (mandatory restitution for           certain crimes) applies, the Court shall

order the defendant to pay restitution.

                          b.       Consequences of Felony Conviction

         Any person convicted of a federal felony offense may lose or be denied federal

benefits including any grants, loans, licenses,       fod    stamps, welfare, or other forms   ofpublic

assistance, as   well   as the   right to own or possess any firearms, the right to vote, the right to

hold public offrce, and the right to sit on a jury. If applicable, any defendant who is not a

United States citizen may be subject to deportation from the United States following

conviction for a criminal offense, be denied citizenship, and not permitted to return to the

United States unless the defendant specifically receives the prior approval of the United

States Attomey General. In some circumstances, upon conviction for a criminal offense,

any defendant who is a naturalized United States citizen may suffer adverse immigration

consequences, including but not limited to possible denaturalization.




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            E.     Restitution

            There is currently no identifiable restitution owed for the offense ofconviction. The

Court will have sole discretion ultimately to determine if the defendant has liability for any

restitution.

III.        ADVISORY UNITED STATES SENTENCING GUIDELINES, GUIDELINE
            APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS

            A.     Advisory United States Sentencing Guidelines

            The Court must consult the advisory United States Sentencing Commission

Guidelines (USSG) as well as the factors set forth in l8 U.S.C. $ 3553(a) when considering

the sentence to impose. The USSG do not establish the statutory maximum or minimum

sentence applicable to the offense to which the defendant is pleading      guilty. The USSG are

not mandatory, and the Court is not bound to impose a sentence recommended by the

USSG.

            B.     GuidelineApplicationAgreements

            The parties have no agreements on any guideline applications unless set forth below

in this section.

                          l.     Base Olfense Level

            The parties stipulate that USSG $ 2A4.1(a) applies to this case and that the Base

Offense Level should be 32.




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                           2.       Specilicoffensecharacteristics

           The parties further agree and stipulate that the following specific offense

characteristic applies: USSG $ 2A4.1(bX5), that the victim was sexually exploited;

resulting in a total offense level of 38 prior to any offset for acceptance of responsibility.

                   3.      Acceptence of Responsibility

           If the United   States concludes that the defendant has satisfied the criteria set out   in

USSG $       3El.l   and the applicable application notes, the United States agrees to recommend

the defendant for a two-level downward adjustment for acceptance of responsibility and"             if
USSG $        3El.l(b) applies, to move for the additional    one level adjustment for acceptance

of responsibility. If, at any time prior to imposition of the sentence, the United           States

concludes that the defendant has failed to fully satisfr the criteria set out in USSG $      3El.l

or has acted in a manner inconsistent with acceptance of responsibility, the United States

will not make or, if already made, will withdraw this recommendation and motion.

                   4.      Concurrent Sentences for Anticipated State Term of
                           Imprisonment

           The defendant     will   plead guilty in Alaska Superior Court case number 3AN-19-

ll234CR to Sexual Assault in the Second Degree, in violation of AS 11.41.420(aXl).

Pursuant to USSG $ 5G1.3(c), the parties agree that any sentence of imprisonment in this

case shall nrn concurrently to the anticipated term of imprisonment in Alaska Superior

Court case number 3AN-19-l l234CR because the offense in that case is relevant conduct

to the instant offense of conviction.




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            C.    SentencingRecommendations

            The United States Probation OfIice ("USPO")              will    prepare the defordant's pre-

sentence report      in which it will include a recommended calculation of the defendant's

sentence range under the USSG. Both the United States and the defendant                          will have the

opportunity to argue       in   support   of or in   opposition          to the guideline      sentence range

calculation the USPO recommends, as well as present evidence                            in   support   of their

respective sentencing arguments.

            The United States   will recommend   a sentence no greater than the high end of the

guideline range as determined by the Court at sentencing. The parties are otherwise free to

recommend        to the Court their respective positions on the appropriate sentence to                     be

imposed in this case based on the stipulated facts set forth in Section II.C., any additional

facts esablished at the imposition of sentence hearing the applicable statutory penalty

sections, the advisory USSG, and the sentencing factors set forth in lE U.S.C. $ 3553.

            The defendant understands the Court is not bound by any party's recommendation

and can impose any sentence it believes is appropriate, even                 if   such sentence is higher or

lower than the parties' recommendations.

IV.         ADDITIONAL AGREEMENTS BY UNITED STATES

            In exchange for the defendant's guilty plea and the Court's acceptance of the

defendant's plea and the terms of this agreement" the United States agrees that it                     will not

prosecute the defendant further for any other offense                -   now known      -    arising out of the

subject of the investigation related to the charges brought in the Indictment in this case and

the defendant's admissions set forth in Section II.C.

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       Provided, however, if the defendant's guilty plea or sentence is rejected, withdrawn,

vacated, reversed, set aside, or modified, at any time, in any proceeding, for any reason,

the United States   will   be free to prosecute the defendant on all charges arising out of the

investigation of this case including any charges dismissed pursuant to the terms of this

agreement, which charges       will be automatically reinstated as well   as   for perjury and false

statements. The defendant hereby agrees that she waives any defense that the statute             of

limitations bars the prosecution of such a reinstated charge.

v      WAIVER OF TRIAL RIGHTS, APPELLATE RIGHTS, COLLATERAL
       ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, RULE
       4IO, AIID ADDITIONAL DISCOVERY

       A.      Trial Rights

       Being aware of the following, the defendant waives these trial rights:

               -    The right to a speedy and public trial by jury on the factual issues

                    establishing guilt or any fact affecting the mandatory minimum and

                    statutory penalties, and any issue allecting any interest in any assets

                    subject to forfeiture;


               -    The right to object to the composition of the grand or trial jury;


               -    The right to plead not guilty or to persist in that plea if it has already been

                    made;


               -    The right to be presumed innocent and not to suffer any criminal penalty

                    unless and until the defendant's guilt is established beyond a reasonable

                    doubt;



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                 -   The right to be represented by counsel at trial and if necessary to have a

                     counsel appointed at public expense to represent the defendant at trial     -
                     the defendant is not waiving the right to have counsel continue to

                     represent the defendant during the sentencing phase of this case;


                 -   The right to confront and cross examine witnesses against the defendant,

                     and the right to subpoena witnesses to appear in the defendant's behalf;


                 -   The right to remain silent at trial, with such silence not to be used against

                     the defendant, and the right to testify in the defendant's own behalf; and


                 -   The right to contest the validity of any searches conducted on the

                     defendant's property or person.

          B.     Appellate Rights

          The defendant waives the right to appeal the conviction resulting from the entry       of

guilty plea to the charges set forth in this agreement. The defendant further agrees that        if
the Court imposes a sentence that does not exceed the statutory maximum penalties            -   as


set forth in Section   II.D. above, the defendant waives without exception the right to appeal

on all grounds contained        in l8   U.S.C. $ 3742 the sentence the Court imposes. The

defendant understands that this waiver includes, but           is not limited to, forfeiture (if

applicable), terms or conditions ofprobation (ifapplicable) or supervised release, any fines

or restitution, and any and all constitutional (or legal) challenges to defendant's conviction

and     guilty ple4 including arguments that the statutes to which defendant is pleading guilty

are unconstitutional, and any and all claims that the statement of facts provided herein is

insuffrcient to support defendant's plea of guilty.

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            By waiving these rights, the defendant understands that the conviction and sentence

the Court imposes        will be final. No   other court       will   conduct appellate review of the

conviction or the sentence.

            The defendant agrees that the appellate and collateral attack waivers contained

within this agreement will apply to any l8 U.S.C. $ 3582(c) modifications, as well                 as the


disfict court's decision to deny any such modification.

            Should the defendant file a notice of appeal in violation of this agreement, it          will

constitute a materid breach of the agreernent. The govemment is free to reinstate any

dismissed charges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to l8 U.S.C. $ 3553(e).

            C.    Collrterel Attack Rights

            The defendant agrees to waive all rights to collaterally attack the resulting

conviction or sentence       -   including forfeiture or tenns or conditions of probation              (if
applicable), or supervised release, and any fines or restitution            -   the Court imposes. The

only exceptions to this collateral attack waiver are as follows:                l)   any challuge to the

conviction or sentenoe allegrng ineffective assistance of counsel               -    based on information

not now known to the defendant and whictu in the exercise of reasonable diligence, could

not be known by the defendant at the time the Court imposes sentence; and 2) a challenge

to the voluntariness of the defendant's guilty plea

            D.     Claim for Attorney Fees and Costg

            Because this is a negotiated resolution ofthe case, the parties waive any claim for

the award of attomey fees and costs from the other party.

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         E.     Evidence Rule 410 rnd Fed. R. Crim. P.          l1(f)

         By sigrring this agreement, the defendant admits the truth of the facts in the Factual

Basis portion of this agreernmt set forth in Section II.C. The defendant agrees that the

statements made by her in signing this agreement shall be deerned usable and admissible

against the defendant as stipulations in any hearing, trial or sentencing that may follow,

even if the defendant fails to enter a guilty plea pursuant to this agreernent. The foregoing

provision acts as   a   modificatioq and express waiver, of Federal Rule of Evidence    4 I 0 and


Federal Rule of Criminal Procedure I       l(0   and is effective upon the court's acceptance   of

the guilty plea in this case. This provision applies regardless of whether the court accepts

this plea agreement.

         F.     Potentiel Plee before Magistrate Judge

The defendant has the right to enter a plea before a United States District Court Judge. The

defendant, Defense Counsel, and the attomey for the Government consent to have the

defendant's plea taken by a United States Magistrate Judge pursuant to Fed. R. Cr. P. I         I

and 59. The parties understand that      if the Magistrate    Judge recommends that the plea    of

guilty be acc€pte{      a pre-sentence investigation report   will be ordered pursuant to Fed. R

Crin. P. 32. The parties agree to file objections to the Magisfate Judge's Report            and

Recommendation within seven calendar days, thereby shortening the time for objections

set   forth in Fed. R. Crim. P. 59. The District Court Judge will decide whether to accept this

plea agreement at the time it imposes sentence in the case.




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The defendant further agrees not to seek release at any time between the date of the guilty

plea before the Magistrate Judge and the date of imposition of sentence before the District

Court Judge.

VI.      ADEQUACYOFTHEAGREEMENT

         Pursuant to Local Criminal Rule 11.2, this plea agreement is appropriate in ttrar            it

conforms with the sentencing goals that would otherwise be applicable to the defendant's

case   ifthe defendant had gone to trial and had been convicted on all counts in the charging

instrument.

VU.      THE DEFENDAtr{T'S ACCEPTAI\CE OF THE TER]VIS OF THIS PLEA
         AGREEMENT

         I, Nellie Sherry   Serradell, the defendant affirm this document contains             all   the

agreements made between me        - with the assistance of my attorney -         and the United States

regarding my plea There are no other promises, assurances, or agreements the United

States has made    or entered into with me that have affected my decision to enter any plea

of guilty or to enter into this agreement. If there are any additional promises, assurances,

or agreements, United States and I will jointly inform the Court in writing before I enter

my guilty plea.

         I understand that no one, including my attorney, can gwrantee the outcome of my

case or what sentence the Court may impose          if I    plead guilty.   If   anyone, including my

attomey, has done or said anything other than what is contained in this agreement, I              will

inform the Court when I stand before it to enter my plea.




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            I ent€r into this agreement understanding and agresing that the conditions                        set   forth

herein are obligatory and material to this agreement and that any failure on my part to                            fulfill

these obligations               will   constitute a material breach of this agreement.              If I   breach this

ageement,           I   agree the United States,             in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any chrges arising out of the

investigation in this macer.                 If my compliance with the terms of this plea agreement
becomes an issue, at an appropriate hearing during which                             I   agree any of my disclosures

will be admissiblq the Court will                    determine whether          I   have violated lhe terms of this

ag€ement.           I   understand the govemment's burden                      to prove a     b,reach   will be by      a

preponderance of the evidence.

             I   understand the Court         will   ask me under an oattr to answer questions about the

offense to which                I   am pleading guilty and my understanding of this plea agreement.                      I
understand that             I may      be prosecuted   ifl   make false statements or give false answers and

may suffer other consequences set forth in this agreement.

             I   have read this plea agretment carefully and understand it thoroughly. I know                          of

no reason why the Court should find me incompetent to entff into lhis agreement or to

enter my plea               I   enter into this agreement knowingly and voluntarily.               I   understand that

anything that           I   discuss with my attomey is privileged and confidential and cannot be

revealed without my permission. Knowing this,                           I   agree that this document       will   be filed

with the Court.

             I am   fully satisfied with the representation given me by my attomey and am prepared

to repeat this statement at the time I stand before the Court and enter my guilty plea. My

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attomey and I have discussed all possible defenses to the charge to which I am pleading

guilty. My attomey has investigated my case and followed up on any information and

issues   I have raised to my satisfaction. My attomey has taken the time to frrlly explain the

legal and factual issues involved in my case to my satisfaction. We have discussed the

statute applicable to my offense and sentence as well as the possible effect the USSG may

have on my sentence.

         Based on my complete understanding of this plea agreement, I therefore admit that

I   am guilty of Count 2 of the lndichent        -   Kidnapping, in violation   of l8 U.S.C. $
1201(aXl).



DATED:          TtzStze                              NELLIE SHERR       SERRADELL
                                                     Defendant




         As counsel for the defendant,     I   have conveyed all formal plea offers.    I   have

discussed the terms of this plea agreement with the defendant, have       fully explained the

charge to which the defendant is pleading guilty, the necessary elernents thereto, all

possible defenses, and the consequences of a guilty plea to a felony. Based on these

discussions,   I   have no reason to doubt that the defendant is knowingly and voluntarily

entering into this agreement and entering a plea of guilty. I know ofno reaion to question

the defendant's competence to make these decisions. If, prior to the imposition ofsentence,




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I   become aware of any reason to question the defendant's competency to enter into this

plea agreement or to enter a plea of guilty, I   will immediately inform the court.

DATED:        Vzs/zf                                 T.         WONNELL
                                                     Attomey for Nellie Sherry Senadell




         On behalfofthe United States, the following accepts the defendant's offer to plead

guilty under the terms of this plea agreement.



                                                     JOHN E. KUHN, JR.
                                                     united states Attomey


DATED:         7,/eS/a oas
                                                     CHzuSTOHER D. SCHROEDER
                                                     Assistant Ilnited States Attornev




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